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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                              CORPUS CHRISTI DIVISION                                       ENTERED
                                                                                            05/26/2020
IN RE:                                         §       CASE NO. 19-20497
HIDALGO COUNTY EMERGENCY                       §
SERVICE FOUNDATION,                            §
Debtor.                                        §       CHAPTER 11

ORDER GRANTING DEBTOR’S EMERGENCY MOTION FOR AUTHORIZATION TO
  INCUR UNSECURED DEBT AS ADMINISTRATIVE EXPENSE UNDER 11 U.S.C.
                         §364(b)&(e) (PPP)

       Upon the Debtor’s Emergency Motion for Authorization To Incur Unsecured Debt as

Administrative Expense Pursuant to 11 USC § 364(b)&(e) (PPP) (the “Motion”), and the Court

having jurisdiction to consider the Motion, having heard any evidence and statements of counsel

regarding the Motion at the hearing on May 8, 2020, and finding that notice was sufficient under

the circumstances and no further notice is needed, it is therefore

       ORDERED, that Debtor is permitted to apply for economic relief under the PPP in the

amount of $2,559,600, with the repayment obligation, if any of the funding received is not

forgiven, having administrative expense status in this case; further

       ORDERED that the 14 day time limit for a final hearing as required under Bankruptcy

Rule 4001(c)(2) is waived; further

       ORDERED that this order is effective nunc pro tunc as of the date of the court’s oral

ruling granting the Motion on May 8, 2020; further

       ORDERED that this Court shall retain nonexclusive jurisdiction over all matters arising

from or related to the interpretation and implementation of this Order.

       ZZZ
       Signed: May 26, 2020.

                                                      ____________________________________
                                                      DAVID R. JONES
                                                      UNITED STATES BANKRUPTCY JUDGE
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Order submitted and entry requested by:
Nathaniel Peter Holzer
Jordan, Holzer & Ortiz, P.C.
500 North Shoreline Boulevard, Suite 900
Corpus Christi, TX 78401-0341
ATTORNEYS FOR DEBTOR AND DEBTOR-IN-POSSESSION
